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                             11    In RE: Richard L. Chang               Lead Case No. LA CV13-01340 JAK
                                                                         (JCGx)
Entrepreneur Law Group LLP




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                                   ALL CASES                             Consolidated Cases:
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                                                                         LA CV14-00310 JAK (ANx)
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                                                                         LA CV14-04511 JAK (ANx)
                             15                                          LA CV14-04446 JAK (ANx)
                             16
                                                                         ORDER GRANTING JOINT
                             17                                          STIPULATION FOR DISMISSAL WITH
                                                                         PREJUDICE JS-6
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                                                                                  Lead Case No. LA CV13-01340 JAK(JCG)
                                  Case 2:14-cv-00310-JAK-AN Document 53 Filed 01/21/16 Page 2 of 2 Page ID #:688




                              1         This matter having come before the Court on the Parties’ Joint Stipulation
                              2 for Dismissal with Prejudice (the “Stipulation”) and all matters properly before the

                              3 Court, and for good cause appearing,

                              4         IT IS HEREBY ORDERED that the terms of the settlement agreement
                              5 executed by the parties on December 10, 2015 and attached as Exhibit A to the

                              6 Stipulation (the “Settlement Agreement”) are incorporated into this order. Dkt.

                              7 458-1, Lead Case.

                              8         IT IS FURTHER ORDERED that the entire dispute, including the above-
                              9 captioned action, all other actions consolidated therein, and all claims by the

                             10 Chang Parties against the Biosuccess Parties and all claims by the Biosuccess

                             11 Parties against the Chang Parties, is dismissed with prejudice. Each Party shall
Entrepreneur Law Group LLP




                             12 bear its own costs and attorney’s fees. The Court shall retain jurisdiction over the

                             13 case for the sole purpose of enforcing compliance with the terms of the Settlement

                             14 Agreement.

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                             16         IT IS SO ORDERED.
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                             18 Date: January 21, 2016

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                                                                                  Hon. John A. Kronstadt
                                                                                 United States District Judge
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                                                                           1           Lead Case No. LA CV13-01340 JAK(JCG)
